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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

GUY WESLEY REFFITT

 

NOTE FROM JURY

Civil/Criminal No.: CR 21-32

 

ducy Nas eeached a verdict On all

[
Five counts

 

 

 

 

 

 

 

 

 

 

 

 

 

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